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                          THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



 KARL KREIG,

                               Plaintiff,
                                                            3:CV-21-0074
            vs.                                            (JUDGE MARIANI)

WALMART STORES, INC.

                             Defendant.

                                             ORDER

          NOW, TH1s£        &-v-0F FEBRUARY, 2021, counsel having informed the Court in

their Case Management Plan February 23, 2021 (Doc. 5), of their consent to jurisdiction by a

Magistrate Judge of this Court, IT IS HEREBY ORDERED THAT the Clerk of Court is

directed to reassign this action to Chief Magistrate Judge Karoline Mehalchick, who is to

conduct all pretrial and trial proceedings in this case.

          The Case Management Conference scheduled for March 3, 2021 is CANCELLED,

and will be rescheduled by Chief Magistrate Judge Mehalchick at such time as she shall

direct.
